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                      IN THE DISTRICT COURT OF THE UNITED STATES
                             FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )       Civil Action no. PJM -5-3180
                vs.                            )       Criminal No. PJM-98-0520
                                               )
DUSTIN JOHN HIGGS,                             )
                                               )
        Defendant.                             )
                                               )


                         NOTICE OF APPEARANCE OF COUNSEL

        NOW COMES the United States of America, by and through Rod Rosenstein, United

States Attorney for the District of Maryland, and gives notice to this Honorable Court of the

appearance of the undersigned as counsel for the Government in the above-referenced case.

        Assistant United States Attorneys Deborah Johnston and Sandra Wilkinson remain on the

case.


        Respectfully submitted this the 10th day of June, 2010.

                                                   ROD ROSENSTEIN
                                                   United States Attorney

                                                   /s/ Jeffrey B. Kahan
                                                   JEFFREY B. KAHAN
                                                   Trial Attorney
                                                   United States Department of Justice
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